USCA4 Appeal: 07-4115        Doc: 158           Filed: 06/19/2009       Pg: 1 of 1




                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT
                              LEWIS F. POWELL, JR. UNITED STATES COURTHOUSE ANNEX
                                         1100 EAST MAIN STREET, SUITE 501
                                          RICHMOND, VIRGINIA 23219-3517
                                             WWW.CA4.USCOURTS.GOV

        PATRICIA S. CONNOR                                                                       TELEPHONE
             CLERK                                                                             (804) 916-2700
                                                   June 19, 2009


        La’Von D. Dobie
        #38360-037
        USP HAZELTON
        U.S. PENITENTIARY
        P.O. Box 2000
        Bruceton Mills, WV 26525

               Re:     07-4115, U.S. v. LaVon Dobie
                             8:04-cr-00235-RWT

        Dear Ms. Dobie:

                The Court is in receipt of your letters filed on June 18, and June 19, 2009. This letter is
        to advise you that all of the transcripts in your case have now been filed and a briefing schedule
        has been set. A copy of the general docket in your appeal is enclosed for your reference.

               If you wish to file a pro se brief in your appeal, you may do so by filing with the Court a
        motion for leave to file a pro se brief accompanied by the pro se brief.

                                                      Sincerely,

                                                      /s/ Mark J. Zanchelli
                                                      ____________________
                                                      Chief Deputy Clerk

        MJZ:cp
        Enclosure
